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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS

  JATIVA MICHELLE TIPTON, individually                Case No.
  and on behalf of all others similarly situated,
                                                    CLASS ACTION COMPLAINT
                 Plaintiff,
                                                    DEMAND FOR JURY TRIAL
  v.

  FRANKLIN INSURANCE GROUP, INC., a
  Texas corporation,

                 Defendant.


                               CLASS ACTION COMPLAINT

       Plaintiff JaTiva Michelle Tipton (“Plaintiff Tipton” or “Tipton”) brings this Class Action

Complaint and Demand for Jury Trial against Defendant Franklin Insurance Group, Inc.,

(“Defendant” or “Franklin Insurance”) to stop the Defendant from violating the Telephone

Consumer Protection Act by making telemarketing calls without consent to consumers who

registered their phone numbers on the National Do Not Call Registry (“DNC”). Plaintiff also seeks

injunctive and monetary relief for all persons injured by Defendant’s conduct. Plaintiff, for this

Complaint, alleges as follows upon personal knowledge as to herself and her own acts and

experiences, and, as to all other matters, upon information and belief, including investigation

conducted by her attorneys.

                                               PARTIES

       1.      Plaintiff JaTiva Michelle Tipton is a resident of Braunfels, Texas.

       2.      Defendant Franklin Insurance is a Texas corporation headquartered in San Antonio,

Texas. Defendant Franklin Insurance conducts business throughout this District, Texas and the

U.S.
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                                      JURISDICTION AND VENUE

        3.      This Court has Federal question subject matter jurisdiction over this action under

28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C.

§227 (“TCPA”).

        4.      This Court has personal jurisdiction and venue is proper since the Defendant resides

in this District and directed the calls to Plaintiff from here.

                                             INTRODUCTION

        5.      As the Supreme Court explained at the end of its term this year, “Americans

passionately disagree about many things. But they are largely united in their disdain for robocalls.

The Federal Government receives a staggering number of complaints about robocalls—3.7 million

complaints in 2019 alone. The States likewise field a constant barrage of complaints. For nearly

30 years, the people’s representatives in Congress have been fighting back.” Barr v. Am. Ass'n of

Political Consultants, No. 19-631, 2020 U.S. LEXIS 3544, at *5 (U.S. July 6, 2020).

        6.      The National Do Not Call Registry allows consumers to register their telephone

numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

See 47 C.F.R. § 64.1200(c)(2).

        7.      A listing on the Registry “must be honored indefinitely, or until the registration is

cancelled by the consumer or the telephone number is removed by the database administrator.” Id.

        8.      When Congress enacted the TCPA in 1991, it found that Americans were receiving

more than 18 million robocalls every day. 105 Stat. 2394 at § 2(3).

        9.      By 2003, due to more powerful autodialing technology, Americans were receiving

more than 100 million robocalls every day. In re Rules and Regulations Implementing the TCPA

of 1991, 18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).




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        10.     The problems Congress identified when it enacted the TCPA have only grown

exponentially in recent years.

        11.     Industry data shows that the number of robocalls made each month increased from

831 million in September 2015 to 4.7 billion in December 2018—a 466% increase in three years.

        12.     According to online robocall tracking service “YouMail,” 4.4 billion robocalls were

placed in March 2022 alone, at a rate of 140.8 million calls per day. www.robocallindex.com (last

visited April 3, 2022).

        13.     The FCC also has received an increasing number of complaints about unwanted

calls, with 150,000 complaints in 2016, 185,000 complaints in 2017, and 232,000 complaints in

2018. FCC, Consumer Complaint Data Center, www.fcc.gov/consumer-help-center-data.

        14.     “Robocalls and telemarketing calls are currently the number one source of

consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls (July 22, 2016), statement

of FCC chairman.1

        15.     “The FTC receives more complains about unwanted calls than all other complaints

combined.” Staff of the Federal Trade Commission’s Bureau of Consumer Protection, In re Rules

and Regulations Implementing the Telephone Consumer Protection Act of 1991, Notice of

Proposed Rulemaking, CG Docket No. 02-278, at 2 (2016).2

                                         COMMON ALLEGATIONS

        16.     Defendant Franklin Insurance is an insurance agency owned and controlled by Jay

Franklin, an Allstate Insurance Agent and conducts business under the agent’s name, Jay Franklin.3




1
  https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls
2
  https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-ftc-bureau-consumer-protection-
federal-communications-commission-rules-regulations/160616robocallscomment.pdf
3
  https://agents.allstate.com/jay-franklin-san-antonio-tx.html


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        17.    Defendant Franklin Insurance makes unsolicited telemarketing calls to consumers

who are registered on the DNC.

        18.    To make matters worse, Defendant Franklin Insurance continues to place calls to

consumers even after they have explicitly told Franklin Insurance to stop calling.

                           PLAINTIFF TIPTON’S ALLEGATIONS

        19.    Plaintiff Tipton registered her cell phone number on the DNC on November 17,

2020.

        20.    Plaintiff’s cell phone number is not associated with a business and is used for

personal use only.

        21.    In or around November 2021, Plaintiff started receiving multiple unsolicited phone

calls from Defendant Franklin Insurance using the phone number 210-571-7030 almost every day.

        22.    During the calls that the Plaintiff answered, Plaintiff spoke to Defendant’s

employees who tried to sell their insurance products and/or services to her. Plaintiff informed the

callers that she was not interested in purchasing an insurance plan from the Defendant.

        23.    Despite the Plaintiff expressing her disinterest in Defendant’s insurance products

and/or services, Plaintiff continued to receive a series of calls from or on behalf of the Defendant.

Hoping to get the calls to stop, Plaintiff answered some more calls from the Defendant and firmly

instructed Defendant’s employees not to call her again, and that she had already asked them several

times to stop calling her phone. In response to Plaintiff’s stop request, the Defendant’s employees

who called the Plaintiff simply hung up the call, without even acknowledging her stop request.

        24.    On December 20, 2021, Plaintiff multiple calls from the Defendant using the phone

number 210-571-7030 to her cell phone. Annoyed by the unwanted calls, Plaintiff answered a call,




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and spoke to an agent who was soliciting Defendant’s insurance products and/or services to her,

and asked the Defendant’s employee to put her cellphone number on their do not call list.




       25.      Plaintiff Tipton continues to receive unwanted solicitation calls to her cell phone

from the Defendant even after making multiple stop requests to the Defendant and despite having

her cell phone number registered on the National Do Not Call Registry. Plaintiff received multiple

calls from the Defendant using the same phone number 210-571-7030, including calls on:

       •     December 21, 2021 – two calls,

       •     December 22, 2021 – two calls,

       •     December 23, 2021 – three calls,

       •     December 27, 2021 – two calls,



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•   December 28, 2021 – one call,

•   December 29, 2021 – two calls,

•   December 30, 2021, at 10:55 AM,

•   January 3, 2021, at 3:16 PM,

•   January 4, 2022, at 11:31 AM,

•   January 5, 2022, at 9:58 AM,

•   January 6, 2022, at 2:14 PM,

•   January 11, 2022, at 1:40 PM,

•   January 12, 2022, at 10:53 AM,

•   January 13, 2022, at 10:31 AM,

•   January 14, 2022, at 12:47 PM,

•   January 28, 2022, at 1:49 PM,

•   March 7, 2022, at 12:58 PM,

•   March 10, 2022, at 9:57 PM,

•   March 14, 2022, at 11:53 AM.




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           26.      The phone number 210-571-7030 is owned and used by agent Jay Franklin, who

owns and controls Defendant Franklin Insurance:




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    https://www.bbb.org/us/tx/san-antonio/profile/insurance-agent/jay-franklin-allstate-insurance-0654-1000019294


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           27.      Plaintiff does not have a relationship with Franklin Insurance, has not inquired

about its products, and has not otherwise consented for it to call her.

           28.      The unauthorized solicitation telephone calls that Plaintiff Tipton received from

Defendant Franklin Insurance have harmed the Plaintiff in the form of annoyance, nuisance, and

invasion of privacy, and disturbed the use and enjoyment of her phone, in addition to the wear and

tear on the phone’s hardware (including the phone’s battery) and the consumption of memory on

the phone.

           29.      Seeking redress for these injuries, Plaintiff Tipton, on behalf of herself and Classes

of similarly situated individuals, bring suit under the TCPA.

                                                  CLASS ALLEGATIONS

           30.      Plaintiff Tipton brings this action pursuant to Federal Rules of Civil Procedure

23(b)(2) and 23(b)(3) and seek certification of the following Classes:

           Do Not Call Registry Class: All persons in the United States who from four years prior
           to the filing of this action through trial (1) Defendant, or an agent calling on behalf of
           Defendant, called more than one time, (2) within any 12-month period, (3) where the
           person’s telephone number had been listed on the National Do Not Call Registry for at
           least thirty days, (4) for substantially the same reason Defendant called Plaintiff.
           Internal Do Not Call Class: All persons in the United States who from four years prior to
           the filing of this action through class certification (1) Defendant or its agent called more

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    https://agents.allstate.com/jay-franklin-san-antonio-tx.html


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       than one time (2) within any 12-month period (3) for substantially the same reason
       Defendant, (4) including at least once after the person requested that Defendant stop
       calling.
       31.     The following individuals are excluded from the Classes: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant, their

subsidiaries, parents, successors, predecessors, and any entity in which either Defendant or their

parents have a controlling interest and their current or former employees, officers and directors;

(3) Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

from the Classes; (5) the legal representatives, successors or assigns of any such excluded persons;

and (6) persons whose claims against the Defendant has been fully and finally adjudicated and/or

released. Plaintiff anticipates the need to amend the Class definitions following appropriate

discovery.

       32.     Typicality and Numerosity: Plaintiff is a member of the Classes, and on

information and belief, there are hundreds, if not thousands of members of the Classes, all of which

received calls from Defendant as part of a single telemarketing campaign, and joinder of all

members is impracticable.

       33.     Commonality and Predominance: There are many questions of law and fact

common to the claims of the Plaintiff and the Classes, and those questions predominate over any

questions that may affect individual members of the Classes. Common questions for the Classes

include, but are not necessarily limited to the following:

       (a)     whether the calls violated the TCPA;

       (b)     whether the Defendant or an agent calling on behalf of Defendant placed multiple

               calls within a 12-month period to Plaintiff and other consumers whose telephone

               numbers were registered with the DNC for at least 30 days at the time of each call;




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       (c)     whether the Defendant or an agent calling on behalf of Defendant engaged in

               telemarketing without implementing adequate internal policies and procedures for

               maintaining an internal do not call list;

       (d)     whether members of the Classes are entitled to treble damages based on the

               willfulness of Defendant’s conduct.

       34.     Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Classes, and has retained counsel competent and experienced in class

actions. Plaintiff has no interests antagonistic to those of the Classes, and Defendant has no

defenses unique to Plaintiff. Plaintiff and her counsel are committed to vigorously prosecuting this

action on behalf of the members of the Classes, and have the financial resources to do so. Neither

the Plaintiff nor her counsel have any interest adverse to the Classes.

       35.     Appropriateness: This class action is also appropriate for certification because the

Defendant has acted or refused to act on grounds generally applicable to the Classes as a whole,

and thereby requiring the Court’s imposition of uniform relief to ensure compatible standards of

conduct toward the members of the Classes and making final class-wide injunctive relief

appropriate. Defendant’s business practices apply to and affect the members of the Classes

uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with respect

to the Classes as a whole, not on facts or law applicable only to the Plaintiff. Additionally, the

damages suffered by individual members of the Classes will likely be small relative to the burden

and expense of individual prosecution of the complex litigation necessitated by Defendant’s

actions. Thus, it would be virtually impossible for the members of the Classes to obtain effective

relief from Defendant’s misconduct on an individual basis. A class action provides the benefits of

single adjudication, economies of scale, and comprehensive supervision by a single court.




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                               FIRST CLAIM FOR RELIEF
                           Telephone Consumer Protection Act
                               (Violation of 47 U.S.C. § 227)
             (On Behalf of Plaintiff Tipton and the Do Not Call Registry Class)

       36.     Plaintiff repeats and realleges the prior paragraphs of this Complaint and

incorporates them by reference herein.

       37.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

who has registered his or her telephone number on the national do-not-call registry of persons who

do not wish to receive telephone solicitations that is maintained by the federal government.”

       38.     Any “person who has received more than one telephone call within any 12-month

period by or on behalf of the same entity in violation of the regulations prescribed under this

subsection may” may bring a private action based on a violation of said regulations, which were

promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone

solicitations to which they object. 47 U.S.C. § 227(c).

       39.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

telephone solicitations to telephone subscribers such as Plaintiff Tipton and the Do Not Call

Registry Class members who registered their respective telephone numbers on the National Do

Not Call Registry, a listing of persons who do not wish to receive telephone solicitations that is

maintained by the federal government.

       40.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff Tipton and the Do Not

Call Registry Class received more than one telephone call in a 12-month period made by or on

behalf of the Defendant in violation of 47 C.F.R. § 64.1200, as described above.

       41.     As a result of Defendant’s conduct as alleged herein, Plaintiff Tipton and the Do

Not Call Registry Class suffered actual damages and, under section 47 U.S.C. § 227(c), are



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entitled, inter alia, to receive up to $500 in damages for such violations of 47 C.F.R. § 64.1200.

       42.     To the extent Defendant’s misconduct is determined to be willful and knowing, the

Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

recoverable by the members of the Do Not Call Registry Class.

                              SECOND CLAIM FOR RELIEF
                            Telephone Consumer Protection Act
                                (Violation of 47 U.S.C. § 227)
              (On Behalf of Plaintiff Tipton and the Internal Do Not Call Class)

       43.     Plaintiff repeats and realleges paragraphs 1 through 35 of this Complaint and

incorporates them by reference herein.

       44.     Under 47 C.F.R. § 64.1200(d), “[n]o person or entity shall initiate any call for

telemarketing purposes to a residential telephone subscriber unless such person or entity has

instituted procedures for maintaining a list of persons who request not to receive telemarketing

calls made by or on behalf of that person or entity. The procedures instituted must meet the

following minimum standards:

               (1) Written policy. Persons or entities making calls for telemarketing
               purposes must have a written policy, available upon demand, for
               maintaining a do-not-call list.
               (2) Training of personnel engaged in telemarketing. Personnel engaged in
               any aspect of telemarketing must be informed and trained in the existence
               and use of the do-not-call list.
               (3) Recording, disclosure of do-not-call requests. If a person or entity
               making a call for telemarketing purposes (or on whose behalf such a call is
               made) receives a request from a residential telephone subscriber not to
               receive calls from that person or entity, the person or entity must record the
               request and place the subscriber's name, if provided, and telephone number
               on the do-not-call list at the time the request is made. Persons or entities
               making calls for telemarketing purposes (or on whose behalf such calls are
               made) must honor a residential subscriber's do-not-call request within a
               reasonable time from the date such request is made. This period may not
               exceed thirty days from the date of such request. If such requests are
               recorded or maintained by a party other than the person or entity on whose
               behalf the telemarketing call is made, the person or entity on whose behalf


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                the telemarketing call is made will be liable for any failures to honor the do-
                not-call request. A person or entity making a call for telemarketing purposes
                must obtain a consumer's prior express permission to share or forward the
                consumer's request not to be called to a party other than the person or entity
                on whose behalf a telemarketing call is made or an affiliated entity.
                (4) Identification of sellers and telemarketers. A person or entity making a
                call for telemarketing purposes must provide the called party with the name
                of the individual caller, the name of the person or entity on whose behalf
                the call is being made, and a telephone number or address at which the
                person or entity may be contacted. The telephone number provided may not
                be a 900 number or any other number for which charges exceed local or
                long distance transmission charges.
                (5) Affiliated persons or entities. In the absence of a specific request by the
                subscriber to the contrary, a residential subscriber's do-not-call request shall
                apply to the particular business entity making the call (or on whose behalf
                a call is made), and will not apply to affiliated entities unless the consumer
                reasonably would expect them to be included given the identification of the
                caller and the product being advertised.
                (6) Maintenance of do-not-call lists. A person or entity making calls for
                telemarketing purposes must maintain a record of a consumer's request not
                to receive further telemarketing calls. A do-not-call request must be
                honored for 5 years from the time the request is made.
        45.     Defendant, or an agent calling on behalf of Defendant placed calls to Plaintiff and

members of the Internal Do Not Call Class without implementing internal procedures for

maintaining a list of persons who request not to be called by the entity and/or by implementing

procedures that do not meet the minimum requirements to allow the Defendant or its agent to

initiate telemarketing calls.

        46.     The TCPA provides that any “person who has received more than one telephone

call within any 12-month period by or on behalf of the same entity in violation of the regulations

prescribed under this subsection may” bring a private action based on a violation of said

regulations, which were promulgated to protect telephone subscribers’ privacy rights to avoid

receiving telephone solicitations to which they object. 47 U.S.C. § 227(c)(5).

        47.     The Defendant has, therefore, violated 47 U.S.C. § 227(c)(5). As a result of

Defendant’s conduct, Plaintiff and the other members of the Internal Do Not Call Class are each


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entitled to up to $1,500 per violation.

                                          PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Tipton individually and on behalf of the Classes, prays for the

following relief:

       a. An Order certifying this case as a class action on behalf of the Classes as defined above;

           appointing Plaintiff Tipton as the representative of the Classes; and appointing her

           attorneys as Class Counsel;

       b. An award of damages and costs;

       c. An Order declaring that Defendant’s actions, as set out above, violate the TCPA;

       d. An injunction requiring the Defendant to cease all unsolicited calling activity, and to

           otherwise protect the interests of the Classes; and

       e. Such further and other relief as the Court deems just and proper.

                                             JURY DEMAND
       Plaintiff Tipton requests a jury trial.


DATED this 2nd day of June, 2022.

                                                 JATIVA MICHELLE TIPTON, individually and
                                                 on behalf of all others similarly situated,

                                                 /s/ Robert A. McLauchlan, III
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                              Attorneys for Plaintiff and the putative Classes




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